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                             UNITED STATES DISTRICT COURT                         2020JAN27     AM 9:3!
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

COMMISSION FOR LAWYER DISCIPLINE, §
                                                  §
                Plaintiff,                        §
                                                  §
V.                                                §    CASE # 1:19-CV-754-RP
                                                  §
BRANDI K STOKES,                                  §
                                                  §
           Defendant.                       §

     THIRD SUPPLEMENTAL PLEADING TO MOTION TO APPOINT COUNSEL

       NOW COMES Defendant, Brandi K Stokes, and files this SUPPLEMENTAL

PLEADiNG TO MOTION TO APPOINT COUNSEL, and shows the Court the following:

       In the aftermath of the terrorist attack at Naval Air Station Pensacola by a second

lieutenant in the Royal Saudi Air Force, Defendant has observed a media campaign targeted

at former President Barack Obama and that such campaign is advancing or reigniting

allegations that Mr. Obama has committed war crimes and should be brought to justice. The

discussion regarding Mr. Obama's alleged war crimes is relevant to the Defendant's Motion

to Appoint Counsel, because of the potential for a conflict of interest problem. Defendant,

therefore, offers the following information to aid this Court in the appointment of competent

counsel:

1.     The Defendant believes that there is no way that mens rca for a war crime could be

       established against former President Barack Obama, predominantly because his

       presidency was under distress and he was being misled in a manner that would negate

       mens rea for a war crime.

2.     In any event, the Defendant's Request for Prosecution pending before the
                                             1
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        International Criminal Court does NOT confer jurisdiction to the International

        Criminal Court for any of the war crimes alleged to have been committed by former

        President Barack Obama.

3.      Should it become necessary, the Defendant further believes that, at a minimum, the

        Immune Family Member class, as defined in the Class Action Complaint filed by the

        Defendant whereby Defendant is seeking Geneva Conventions protection for herself

        and her family members, could be expanded to include former President Barack

        Obama.    In re Brandi    K Stokes, No.   1-1 9-CV- 1021 -RP,   Dkt. 1, (W.D. Tex. Oct. 18,

        2019). Information regarding the connections between the Obama family and the

        Defendant's family was publicly available for the duration of the Obama

        presidency.1   It is very likely that he was targeted to be the scapegoat for what appears

        to be a well-orchestrated take-over of the executive branch of our government.

4.      The interests of the Defendant, her family members, and the Obama family are

        aligned, and as such, there are no conflicts of interest with law firms or attorneys that

        represent or have represented members of the Obama family.


DATED: January 27, 2020


                                                       b1cd&                L   J/L
                                                  Brandi K Stokes, Defendant
                                                  Texas State Bar No. 24044940
                                                  BRANDI STOKES, Esq.
                                                  brandi.stokesgmail.com
                                                  P.O. Box 301916
                                                  AUSTiN, TX 78703
                                                  +15122060202



'The Defendant's sister-in-law is a Dunham.
                                                   2
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                           CERTIFICATE OF SERVICE

      I  certify that on January 27, 2020, a true and correct copy of this THIRD
SUPPLEMENTAL PLEADING TO MOTION TO APPOINT COUNSEL was
served on counsel for the Plaintiff through the electronic filing manager.



                                     Brandi K Stokes




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